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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

CVS PHARMACY, INC.,
                                          Civil Action No.: 3:21-cv-12498
                   Plaintiff,
vs.                                       Hon. Robert H. Cleland

SAMANTHA MARSACK and
HOME CARE SERVICES, INC.
d/b/a KABAFUSION,

                   Defendants.


 Plaintiff’s Counsel                    Defendants’ Counsel


 s/ Richard W. Warren                    s/ Matthew Bills
 Richard W. Warren (P63123)             Matthew Bills
 Miller, Canfield, Paddock & Stone,     Andrew E. Nieland
 PLC                                    Barack Ferrazzano Kirschbaum &
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          STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff CVS Pharmacy, Inc. and Defendants Samantha Marsack and Home

Services, Inc. d/b/a KabaFusion hereby agree and stipulate that this action,

including all claims, be dismissed with prejudice and without Court-ordered costs

or attorney’s fees, with all parties waiving any right to appeal.

       IT IS SO ORDERED.

       s/Robert H. Cleland
       Hon. Robert H. Cleland


Dated: November 22, 2021


Stipulated:

 Plaintiff’s Counsel                           Defendants’ Counsel


 s/ Richard W. Warren                           s/ Matthew Bills
 Richard W. Warren (P63123)                    Matthew Bills
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 PLC                                           Barack Ferrazzano Kirschbaum &
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